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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA                                          INFORMATION

                  v.                                   Case No.      15-cr-54-wmc
                                                                  21 U.S.C. § 846
AMADOU CAMARA,

                                Defendant.


THE UNITED STATES ATTORNEY CHARGES:

                                             COUNTl

           From on or about a date in September 2012, until in or about February 2015, in

the Western District of Wisconsin and elsewhere, the defendant,

                                      AMADOU CAMARA,

conspired and agreed with others known and unknown to the grand jury, to knowingly

and intentionally distribute and possess with intent to distribute marijuana, a Schedul~

I controlled substance, in violation of Title 21, United States Code, Section 841(a)(1).

           (All in violation of Title 21, United States Code, Section 846).



   // / n I 3016
Date
       I
                                              for     JOHN W. VAUDREUIL
                                                      United States Attorney
